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 7   Crypto Asset Fund, LLC,
 8   Timothy Enneking & Kyle Chaykowski

 9
                         UNITED STATES DISTRICT COURT
10
                       SOUTHERN DISTRICT OF CALIFORNIA
11

12
     CRYPTO ASSET FUND, LLC, a     )       CASE NO.:'19CV1869
                                                     _______ BEN MDD
13   Delaware limited liability company;
                                   )
14   TIMOTHY ENNEKING, an          )       COMPLAINT FOR:
     individual; and KYLE          )
15   CHAYKOWSKI, an individual,    )       VIOLATIONS OF (1) THE
16                                 )       SECURITIES ACT OF 1933, (2) THE
             Plaintiffs,           )       SECURITIES EXCHANGE ACT OF
17                                 )       1934, (3) CALIFORNIA’S
18    vs.                          )       CORPORATE SECURITIES LAW
                                   )       OF 1968 & (4) CALIFORNIA’S
19   MEDCREDITS, INC., a Delaware  )       UNFAIR COMPETITON LAW AND
20   corporation; JAMES TODARO, an )       CLAIMS FOR (5) BREACH OF
     individual; JOSEPH TODARO, an )       CONTRACT, (6) BREACH OF THE
21   individual; JOHN TODARO, an   )       COVENANT OF GOOD FAITH &
22   individual; MOSHE PRAVER, an  )       FAIR DEALING, (7) UNJUST
     individual; RYAN CODY, and    )       ENRICHMENT, (8) CONVERSION,
23   individual; BLOCKTOWN         )       (9) PROMISSORY ESTOPPEL, (10)
24   HOLDINGS, LP dba BLOCKTOWN )          FRAUD, (11) NEGLIGENT
     CAPITAL, a Delaware limited   )       MISREPRESENTATION & (12)
25   partnership; and DOES 1-10,   )       INTENTIONAL INTERFERENCE W/
26   inclusive,                    )       CONTRACTUAL RELATIONS
                                   )
27           Defendants.           )       AND DEMAND FOR JURY TRIAL
28                                 )
                                   )
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                        COMPLAINT AND DEMAND FOR JURY TRIAL
 1                                       JURISDICTION
 2         1.       This Court has subject matter jurisdiction over this action pursuant to
 3   28 U.S.C. § 1331, 28 U.S.C. § 1367, 15 U.S.C. § 77v, and 15 U.S.C. § 78aa because
 4   Plaintiffs allege violations of the Securities Act of 1933 and Securities Exchange
 5   Act of 1934.
 6         2.       This Court has personal jurisdiction over Defendants because
 7   Defendants either conduct business in this District or are present in this District for
 8   jurisdictional purposes. Defendants have sufficient minimum contacts with this
 9   District as to render the exercise of jurisdiction by this Court permissible under
10   traditional notions of fair play and substantial justice. Defendants solicited investors
11   in this District and obtained money or valuable cryptocurrency from those investors,
12   including Plaintiffs.
13         3.       Defendants have purposefully availed themselves of the benefits of
14   operating in this jurisdiction, and this Court may exercise personal jurisdiction over
15   Defendants.
16                                NATURE OF THE ACTION
17         4.       Plaintiffs bring this action against Defendants for their violations of the
18   Securities Act of 1933 (the “Securities Act”), the Securities Exchange Act of 1934
19   (the “Exchange Act”), California’s Corporate Securities Law of 1968 (the
20   “California Securities Law”), and California’s Unfair Competition Law and for
21   breach of contract, breach of the covenant of good faith and fair dealing, unjust
22   enrichment, conversion, promissory estoppel, fraud, negligent misrepresentation,
23   and intentional interference with contractual relations.
24         5.       Plaintiffs seek rescission, compensatory damages, including lost
25   profits, restitution, disgorgement of profits, pre- and post-judgment interest at the
26   statutory legal rate of 10% pursuant to Section 3289(b) of the California Civil Code,
27   awards of costs and attorneys’ fees pursuant to Section 1021.5 of the California
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                             COMPLAINT AND DEMAND FOR JURY TRIAL
 1   Civil Code, and punitive damages in an amount sufficient to punish and deter
 2   Defendants.
 3           6.    Plaintiffs also seek injunctive relief to enjoin Defendants’ unfair,
 4   unlawful, and fraudulent business acts and practices, including an order prohibiting
 5   Defendants from continuing to offer and sell unregistered, non-exempt securities.
 6                                          PARTIES
 7           7.    Plaintiff Crypto Asset Fund, LLC (“CAF”) is a Delaware limited
 8   liability company with members who reside in California. Plaintiffs Timothy
 9   Enneking and Kyle Chaykowski are individuals who reside in San Diego County,
10   California.
11           8.    Plaintiffs are informed and believe that defendant MedCredits, Inc.
12   (“MedCredits”) is a Delaware corporation with its principal place of business in
13   Delaware.
14           9.    Plaintiffs are informed and believe that defendants James Todaro,
15   Joseph Todaro, and John Todaro (the “Todaro Brothers”), Moshe Praver, and Ryan
16   Cody (collectively, the “Individual Defendants”) are individuals residing within the
17   United States.
18           10.   Plaintiffs are informed and believe that James Todaro and Moshe
19   Praver are Executive Officers and Directors of MedCredits and that Joseph Todaro,
20   John Todaro, and Ryan Cody are Directors of MedCredits.
21           11.    Plaintiffs are informed and believe that defendant Blocktown
22   Holdings, LP dba Blocktown Capital (“Blocktown Capital”) is a Delaware
23   corporation with its principal place of business in Michigan.
24           12.   Plaintiffs are informed and believe that James Todaro is an Executive
25   Officer of Blocktown Capital. James, Joseph, and John Todaro are identified as
26   members of Blocktown Capital’s Management team on its website.1
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28   1
         https://www.blocktown.capital/team

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                          COMPLAINT AND DEMAND FOR JURY TRIAL
 1           13.   Plaintiffs are ignorant of the true names and capacities of the
 2   Defendants sued herein as Does 1 – 10 and therefore sue said Defendants by such
 3   fictitious names. Plaintiffs will amend this Complaint to allege the true names and
 4   capacities when the same has been ascertained. All of the Doe Defendants and each
 5   of them were the agents and principals of all of the other defendants and were acting
 6   in the course and scope of their authority and in concert with one another.
 7                                           VENUE
 8           14.   Venue is proper in this District pursuant to 28 U.S.C. § 1391, 15 U.S.C.
 9   § 77v, and 15 U.S.C. § 78aa because: (a) the conduct at issue took place and had an
10   effect in this judicial District; (b) a substantial part of the events or omissions giving
11   rise to Plaintiffs’ claims occurred in this District; and (c) Defendants have received
12   substantial compensation and other transfers of money by transacting business in
13   this District and engaging in activities that have an effect in this District.
14                               FACTUAL ALLEGATIONS
15           15.   On July 25, 2017, the Securities and Exchange Commission (“SEC”)
16   issued an investigative report (commonly referred to as the “DAO Report”)
17   cautioning market participants that offers and sales of digital assets conducted by
18   organizations using distributed ledger or blockchain technology are subject to the
19   requirements of the federal securities laws. The SEC explained that “[s]uch offers
20   and sales, have been referred to, among other things, as ‘Initial Coin Offerings’ or
21   ‘Token Sales.’”2
22           16.   In the fall of 2017, on the heels of the SEC’s issuance of the DAO
23   Report, MedCredits and the Individual Defendants launched an aggressive private
24   and public campaign to market their planned initial coin offering of the MEDX
25   token for use on a “token-curated registry” (“TCR”) of physicians whereby a
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         https://www.sec.gov/news/press-release/2017-131

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                           COMPLAINT AND DEMAND FOR JURY TRIAL
 1   network of “verified” physicians would be established through a “decentralized”
 2   peer review process.
 3         17.    Beginning in or around September 2017, James Todaro began to solicit
 4   and induce Mr. Enneking to invest in MedCredits’ upcoming token sale for the yet-
 5   to-be-launched MedCredits (MEDX) platform. Mr. Todaro represented in an email
 6   to Mr. Enneking that he and his team of partners “uniquely possesses the blockchain
 7   space knowledge and medical background to launch a successful health platform.”
 8   Mr. Todaro claimed that as “US medical doctors” they possessed a “great deal of
 9   insight and connections into the healthcare sector to be the first movers in
10   blockchain based telemedicine.”
11         18.    James Todaro represented that they were “on the conservative side”
12   regarding their timeline for building out their platform, launching a successful token
13   sale, and other key deliverables.
14         19.    In December 2017, James Todaro provided Mr. Enneking with “a few
15   updates on the MedCredits platform.” Acknowledging that one of Mr. Enneking’s
16   “concerns was the timeline of [their] development progress,” James Todaro
17   represented that they were “significantly ahead of schedule,” claiming that they had
18   just completed development of the alpha version of their app and were “the first
19   team to ever create a truly decentralized telemedicine platform.”
20         20.    James Todaro also reported that they had “revamped [their] website
21   and white paper with the updated timeline and development framework.” “White
22   Papers” are an industry standard document in which offerors of digital tokens
23   describe their platform and token to potential investors. These White Papers were
24   neither independently nor objectively prepared – they were specifically designed to
25   persuade the investing public to buy token securities.
26         21.    James Todaro also reported that they had “just recently launched [their]
27   Seed Round where [they were] selling discounted MEDX tokens to hand picked
28   qualified buyers.” Emphasizing that “[t]hese [MEDX tokens] will be priced lower

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                            COMPLAINT AND DEMAND FOR JURY TRIAL
 1   than the Pre-sale and Public Sale tokens,” he stated: “We are ideally looking for
 2   Seed Round buyers who we know in the blockchain space, which is why I'm
 3   reaching out to you.” James Todaro concluded his pitch by stating: “I strongly
 4   believe that we are the most robust blockchain healthcare company in the space.
 5   Please let me know if you are still interested.”
 6           22.    When Mr. Enneking inquired regarding “the investment structure you
 7   are currently offering,” James Todaro responded by providing Mr. Enneking with a
 8   MEDX token distribution and pricing chart reflecting a Pre-Sale price of 0.40 USD
 9   per MEDX and tiered Public sale prices going up to 0.80 USD per MEDX. Mr.
10   Todaro indicated that “Seed Round prices are determined on a case-by-case basis,
11   but has been around 0.25 to 0.30 USD per MEDX.” In an effort to further induce
12   Plaintiffs into investing in MEDX tokens, Mr. Todaro added: “We may be able to
13   offer you a further discount if you are interested in an advisory role.”
14           23.    Around the same time that James Todaro was reporting the supposed
15   commencement of MedCredits’ MEDX token sale, a different healthcare company
16   called MediBloc founded in April 2017 did hold a token sale for – guess what –
17   “MEDX” tokens.3 This material information – all but guaranteeing market
18   confusion should MedCredits ultimately launch its MEDX token – was not
19   disclosed to Plaintiffs notwithstanding that appropriate due diligence by MedCredits
20   and the Individual Defendants should have revealed or did reveal it to them.
21           24.    In early January 2018, James Todaro followed up with Mr. Enneking
22   again, emailing in part:
23                  I'm not sure if you saw this, but we just released a demo
24                  video of the alpha version of our Hippocrates app. This is
25                  the first decentralized telemedicine platform ever
26                  developed. The case files and images are stored on IPFS,
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28   3
         https://medibloc.org/en/about and https://coinmarketcap.com/currencies/medx/

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                           COMPLAINT AND DEMAND FOR JURY TRIAL
 1                and Ethereum smart contracts control the physician-
 2                patient encounter. We will be rolling this out to token
 3                sale participants in the very near future for testing. We
 4                expect to have the Beta Release coming out during our
 5                public token sale.
 6                On a separate note, we have nearly $2mm in registrants
 7                for our Seed Round, (which means there is a growing
 8                waitlist). We are reserving a substantial portion of this
 9                round though for contributions by funds/people who are
10                leaders in this space.
11         25.    Plaintiffs carefully considered the offer to purchase based upon the
12   information reasonably available to them at the time, much of which was controlled
13   exclusively by MedCredits and the Individual Defendants.
14         26.    Ultimately persuaded to invest, in January 2018, CAF purchased $1.3
15   million worth of MEDX tokens at $0.20 USD per token and Mr. Enneking entered
16   into an advisory agreement with MedCredits. The following month, Mr.
17   Chaykowski purchased $50,000 worth of MEDX tokens at $0.25 per token.
18   MedCredits and the Individual Defendants never rolled out the MEDX platform,
19   never completed the MEDX token sale and distribution, apparently abandoning the
20   project altogether while pocketing funds from investors including Plaintiffs to use as
21   they see fit – in the case of the Todaro Brothers in connection with Blocktown
22   Capital.
23         27.    At the time of Plaintiffs’ investments, MedCredits communications
24   indicated the company planned to distribute the tokens and list on an exchange
25   within three to six months.
26         28.    Unbeknownst to Plaintiffs at this time, MedCredits and the Individual
27   Defendants had no reasonable expectation, ability, or intention of developing a fully
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                          COMPLAINT AND DEMAND FOR JURY TRIAL
 1   functioning platform or successfully completing a token sale and distribution within
 2   this timeline or at all.
 3           29.   Moreover, the Todaro Brothers knew that they intended to devote
 4   significant resources, including finite time and money including the proceeds from
 5   purchases of MEDX tokens, that Plaintiffs reasonably expected and relied upon
 6   them to devote to the MEDX platform and token instead to launching and operating
 7   Blocktown Capital. Indeed, while the proceeds from Plaintiffs’ purchases of MEDX
 8   tokens were supposed to be held and utilized for the sole and exclusive benefit and
 9   use of MedCredits which in turn would inure to the benefit of its investors including
10   Plaintiffs, those proceeds were instead misappropriated, commingled, and/or
11   misapplied by the Individual Defendants and Blocktown Capital. The blockchain
12   technology utilized by Defendants to sell MEDX tokens allows the outflow of
13   investor proceeds to be traced.
14           30.   MedCredits and the Individual Defendants never followed through on
15   the various deliverables that would be required to successfully launch and operate
16   the MEDX platform and to complete the accompanying token sale and distribution.
17   Instead, they devoted significant efforts to founding and launching Blocktown
18   Capital.
19           31.   On March 15, 2018, James Todaro published an article on medium.com
20   promoting the MEDX token called “The MEDX Token – A protocol token to power
21   the MedCredits ecosystem.”4
22           32.   On April 24, 2018, James Todaro caused to be filed with the SEC a
23   Form D Notice of Exempt Offering of Securities for Blocktown Capital. As of this
24   date, no such Form had been filed by MedCredits for the MEDX tokens.
25   Throughout 2018 and into 2019, James Todaro continued to assure Plaintiffs that
26   appropriate resources were being devoted to the severely lagging MEDX project,
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         https://medium.com/medxprotocol/the-medx-token-7bf752b6ae20

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                            COMPLAINT AND DEMAND FOR JURY TRIAL
 1   including regarding the hiring of a marketing specialist, while concealing the fact
 2   that the Todaro Brothers had already pivoted toward an alternative project in
 3   Blocktown Capital and had no intention of following through with the MEDX
 4   project generally or with the specific representations that were made to investors
 5   including Plaintiffs.
 6            33.   On August 2, 2018, MedCredits and the Individual Defendants made
 7   material misrepresentations and omissions to Plaintiffs regarding the status of the
 8   MedCredits platform and MEDX token sale and distribution, including regarding
 9   their marketing strategy and engagements, partnerships, press, and platform
10   developments.
11            34.   On November 5, 2018, James Todaro advised Mr. Enneking in an
12   email: “On the marketing front, we have begun interviewing healthcare marketing
13   strategists. Will update you on how the process is going soon!”
14            35.   The next day, Mr. Enneking pointedly asked James Todaro in an email:
15   “Do you have the bandwidth to follow up on everything and still move ahead on the
16   launch?” James Todaro responded, “Yes, we do!” That was a lie.
17            36.   On November 9, 2018, James Todaro advised Mr. Enneking in an
18   email:
19                  After multiple rounds of interviews, I'm happy to let you
20                  know that we just brought a marketing specialist on
21                  board with MedX! He's from Chicago with 18 years of
22                  experience in media relations and marketing in
23                  healthcare. He has a great contact list of healthcare
24                  influencers, and has significant experience leading teams
25                  in reputation building and provider/organization on-
26                  boarding. He starts Monday and will be an integral part
27                  of the OpenCare marketing campaign.
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                             COMPLAINT AND DEMAND FOR JURY TRIAL
 1

 2   Mr. Todaro’s statements contained material misrepresentations and omissions.
 3   James Todaro failed and refused to identify this alleged marketing specialist to
 4   Plaintiffs.
 5           37.     On March 8, 2019, almost a year after claiming an exemption for
 6   Blocktown Capital, as an afterthought and in an attempt to retroactively construct an
 7   argument for exemption for the MEDX tokens, the Individual Defendants caused to
 8   be filed with the SEC a Form D Notice of Exempt Offering of Securities for
 9   MedCredits (the “Late SEC Filing”). MedCredits’ Late SEC Filing did not render
10   the MEDX tokens exempt, however.
11           38.     On or about April 11, 2019, the SEC released a “Spotlight on Initial
12   Coin Offerings (ICOs)” in which it noted that “[c]ompanies and individuals are
13   increasingly considering initial coin offerings (ICOs) as a way to raise capital or
14   participate in investment opportunities” which “bring increased risk of fraud and
15   manipulation because the markets for these assets are less regulated than traditional
16   capital markets.” Among the “5 things you need to know about ICOs” per the SEC
17   were the fact that “ICOs can be securities offerings,” “they may need to be
18   registered,” and “ICOs may pose substantial risks.” The SEC also reiterated its
19   position set forth in the DAO Report: “As SEC Chairman Jay Clayton has stated,
20   tokens and offerings that feature and market the potential for profits based on the
21   entrepreneurial or managerial efforts of others contain the hallmarks of a security
22   under U.S. law.”5
23           39.     On August 12, 2019, the SEC announced that it had settled charges
24   against a New England-based blockchain healthcare company for offering and
25   selling approximately $6.3 million of securities to the public in unregistered
26   transactions.
27

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         https://www.sec.gov/ICO

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                            COMPLAINT AND DEMAND FOR JURY TRIAL
 1           40.   According to the SEC’s Order, in late 2017, SimplyVital Health, Inc.
 2   (“SimplyVital”) publicly announced its plan to conduct a token sale – an “Initial
 3   Coin Offering" or “ICO” – to raise money to further its development of Health
 4   Nexus, a “healthcare-related blockchain ecosystem.” In his March 2018 article for
 5   medium.com, James Todaro similarly referred to MedCredits as a healthcare-related
 6   blockchain ecosystem.
 7           41.   Just as MedCredits planned to do with the MEDX token, SimplyVital
 8   offered a new token called Health Cash, or HLTH, which, it stated, would be used
 9   as currency in the Health Nexus. SimplyVital concurrently announced that it would
10   conduct a “pre-sale” of its HLTH tokens, in which it offered investors Simple
11   Agreements for Future Tokens, or SAFTs, under which it sold HLTH tokens that
12   would not be delivered to investors unless and until created by SimplyVital.
13   MedCredits and the Individual Defendants followed the same process.
14           42.   The SEC’s Order found that SimplyVital did not file a registration
15   statement with the Commission or qualify for an exemption from registration before
16   offering and selling HLTH to the public through the SAFTs. Neither did
17   MedCredits.
18           43.   Like MedCredits, SimplyVital did not ultimately follow through with
19   its ICO and distribution of HLTH tokens. However, unlike MedCredits,
20   SimplyVital voluntarily returned to investors substantially all of the funds raised
21   during its pre-sale.6
22           44.   Among other indicia of a securities offering, Defendants touted that the
23   MEDX tokens received in exchange for investors’ investments would be worth
24   more than the moneys they paid. Additionally, Defendants created a sense of
25   urgency for investors including Plaintiffs to make their investments to capitalize on
26   the profit potential of the investment. Plaintiffs and other investors reasonably
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         https://www.sec.gov/enforce/33-10671-s

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                             COMPLAINT AND DEMAND FOR JURY TRIAL
 1   expected that the value of MEDX Tokens received in exchange for their investments
 2   would grow as the result of MedCredits’ successful launch and cultivation of the
 3   MEDX platform.
 4         45.    Under the federal securities laws, the definition of a security includes
 5   an “investment contract.” The United States Supreme Court has defined
 6   “investment contract” as a contract, transaction, or scheme whereby a person invests
 7   his or her money in a common enterprise and is led to expect profits solely from the
 8   efforts of the promoter or a third party. S.E.C. v. Howey, 328 U.S. 293, 299 (1946).
 9         46.    Plaintiffs and other investors invested their money in MEDX Tokens.
10   Investors paid either U.S. dollars or with cryptocurrency such as Ether to purchase
11   their MEDX Tokens from MedCredits and the Individual Defendants. Such an
12   investment is the type of contribution of value that creates an investment contract.
13         47.    By purchasing MEDX Tokens, Plaintiffs joined MedCredits and the
14   Individual Defendants in the “common enterprise” of establishing the MEDX
15   platform, where MEDX tokens would be the established and sole “currency.”
16         48.    Through their words and actions, MedCredits and the Individual
17   Defendants led investors including Plaintiffs to expect a profit from the purchase of
18   MEDX tokens. MedCredits and the Individual Defendants introduced MEDX
19   tokens as the exclusive means of verifying physicians in the MEDX physician
20   network and made clear to potential investors that the tokens would be issued in a
21   limited supply. Potential investors logically concluded that the development and
22   growth of the MEDX platform would create additional demand for MEDX tokens
23   and increase their value.
24         49.    When Plaintiffs invested in MEDX tokens, the MEDX platform had no
25   practical functionality and had not been launched for public use. Plaintiffs had no
26   power to bring about the full implementation of the platform, and they relied on
27   MedCredits’ and the Individual Defendants’ managerial and entrepreneurial efforts
28   to make the platform fully available to the public, as MedCredits had promised.

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                          COMPLAINT AND DEMAND FOR JURY TRIAL
 1         50.     MedCredits and the Individual Defendants have sole control over the
 2   money they raised through sales of MEDX tokens and the management of those
 3   funds in connection with the MEDX platform.
 4         51.     MEDX token investors had to rely on MedCredits and the Individual
 5   Defendants to: (a) market the sale of MEDX tokens and generate publicity by
 6   posting on message boards, social media, and other outlets, and (b) raise the
 7   necessary funding to finance the build out of the MEDX platform. Investors have to
 8   rely on MedCredits and the Individual Defendants to: (a) manage the funds that
 9   have been raised from MEDX token investors, (b) develop and build the MEDX
10   platform, and (c) market the MEDX platform concept to potential users and seek
11   mass adoption of the MEDX platform.
12         52.     Investors in the MEDX tokens had no power or control over their
13   investments once they handed their payment over to MedCredits and the Individual
14   Defendants. MedCredits and the Individual Defendants controlled all pertinent
15   information about the company, managed the development of the platform which
16   they have apparently abandoned, and chose what types of information to provide to
17   investors and when that information was disseminated.
18         53.     The requirements of the Securities Act, the Exchange Act, and the
19   California Securities Law are designed to protect investors by ensuring that they are
20   provided adequate, truthful, and materially complete information upon which to
21   base their investment decisions. California’s Unfair Competition Law is an
22   important law enforcement tool designed to protect consumers from unfair,
23   unlawful, and fraudulent business acts and practices and to deter and punish
24   wrongdoing.
25         54.     Through this action, Plaintiffs seek relief for themselves, to protect
26   California consumers, and to deter and punish Defendants’ wrongdoing.
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                          COMPLAINT AND DEMAND FOR JURY TRIAL
 1                                      CLAIMS ALLEGED
 2                                          COUNT 1
 3
                       Violation of the Securities Act (15 U.S.C. § 77l(a)(2))
                      (Against MedCredits And the Individual Defendants)
 4

 5         55.       Plaintiffs repeat and re-allege each and every allegation above as if set
 6   forth herein.
 7         56.       The Securities Act prohibits the offer and sale of a security by the use
 8   of any means or instruments of transportation or communication in interstate
 9   commerce or of the mails, by means of a prospectus or oral communication, which
10   includes an untrue statement of a material fact or omits to state a material fact
11   necessary in order to make the statements, in the light of the circumstances under
12   which they were made, not misleading.
13         57.       The Securities Act grants Plaintiffs a private right of action for
14   damages against MedCredits and the Individual Defendants for their violations of
15   this provision.
16         58.       In marketing the MEDX platform and token to prospective investors,
17   including Plaintiffs, MedCredits and the Individual Defendants unlawfully made use
18   of means or instruments of transportation or communication in interstate commerce
19   or of the mails or by means of a prospectus or oral communication to make an
20   untrue statement of material fact and/or omitted to state a material fact necessary in
21   order to make their statements, in light of the circumstances they were made, not
22   misleading.
23         59.       MedCredits and the Individual Defendants “offered” and “sold”
24   securities within the meaning of the Securities Act because they solicited Plaintiffs’
25   and others’ investments in the MEDX platform and tokens, actively and knowingly
26   participated in the offer and sale of MEDX tokens to Plaintiffs and others, and/or
27   offered or sold MEDX tokens they held or controlled to Plaintiffs. MEDX tokens
28   are not subject to any applicable exemption.

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                             COMPLAINT AND DEMAND FOR JURY TRIAL
 1         60.       By reason of the foregoing, MedCredits and the Individual Defendants
 2   have violated 15 U.S.C. §§ 77l(a)(2).
 3         61.       MedCredits’ and the Individual Defendants’ violations of the Securities
 4   Act were a substantial factor in causing Plaintiffs damages in connection with their
 5   purchases of MEDX token securities. As such, MedCredits and the Individual
 6   Defendants are liable to Plaintiffs for compensatory damages or rescission.
 7                                           COUNT 2
 8
                        Violation of the Securities Act (15 U.S.C. § 77o(a))
                                (Against all Individual Defendants)
 9

10         62.       Plaintiffs repeat and re-allege each and every allegation above as if set

11   forth herein.

12         63.       Section 15 of the Securities Act provides for joint and several liability

13   for “controlling persons” who had sufficient power or influence over a person or

14   entity that violated federal securities laws:

15                   Every person who, by or through stock ownership,

16                   agency, or otherwise, or who, pursuant to or in

17                   connection with an agreement or understanding with one

18                   or more other persons by or through stock ownership,

19                   agency, or otherwise, controls any person liable under

20                   section 77k or 77l of this title, shall also be liable jointly

21                   and severally with and to the same as extent as such

22                   controlled person to any person to whom such controlled

23                   person is liable, unless the controlling person had no

24                   knowledge of or reasonable ground to believe in the

25                   existence of the facts by reason of which the liability of

26                   the controlled person is alleged to exist.

27   15 U.S.C. § 77o(a).

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                             COMPLAINT AND DEMAND FOR JURY TRIAL
 1         64.       Defendant James Todaro is subject to liability by virtue of his top-level
 2   executive position with MedCredits and his significant influence and supervisory
 3   authority over it. James Todaro is a “controlling person” within the meaning of
 4   Section 15(a) of the Securities Act, 15 U.S.C. § 77o.
 5         65.       Defendant Joseph Todaro is subject to liability by virtue of his top-level
 6   executive position with MedCredits and his significant influence and supervisory
 7   authority over it. Joseph Todaro is a “controlling person” within the meaning of
 8   Section 15(a) of the Securities Act, 15 U.S.C. § 77o.
 9         66.       Defendant John Todaro is subject to liability by virtue of his top-level
10   executive position with MedCredits and his significant influence and supervisory
11   authority over it. John Todaro is a “controlling person” within the meaning of
12   Section 15(a) of the Securities Act, 15 U.S.C. § 77o.
13         67.       Defendant Moshe Praver is subject to liability by virtue of his top-level
14   executive position with MedCredits and his significant influence and supervisory
15   authority over it. Praver is a “controlling person” within the meaning of Section
16   15(a) of the Securities Act, 15 U.S.C. § 77o.
17         68.       Defendant Ryan Cody is subject to liability by virtue of his top-level
18   executive position with MedCredits and his significant influence and supervisory
19   authority over it. Cody is a “controlling person” within the meaning of Section
20   15(a) of the Securities Act, 15 U.S.C. § 77o.
21         69.       The Individual Defendants’ roles as “controlling persons” of entities or
22   persons who violated Section 15 of the Securities Act were a substantial factor in
23   causing Plaintiffs damages.
24                                         COUNT 3
25
                       Violation of the Securities Act (15 U.S.C. § 77q(a))
                      (Against MedCredits and the Individual Defendants)
26

27         70.       Plaintiffs repeat and re-allege each and every allegation above as if set
28   forth herein.

                                           - 15 -
                            COMPLAINT AND DEMAND FOR JURY TRIAL
 1         71.       The Securities Act prohibits the use of any means or instruments of
 2   transportation or communication in interstate commerce or by use of the mails,
 3   directly or indirectly (1) to employ any device, scheme, or artifice to defraud, or
 4   (2) to obtain money or property by means of any untrue statement of a material fact
 5   or any omission to state a material fact necessary in order to make the statements
 6   made, in light of the circumstances under which they were made, not misleading; or
 7   (3) to engage in any transaction, practice, or course of business which operates or
 8   would operate as a fraud or deceit upon the purchaser. 15 U.S.C. § 77q(a).
 9         72.       MedCredits and the Individual Defendants unlawfully used interstate
10   commerce and/or the mails to employ a device, scheme, or artifice to defraud
11   purchasers of MEDX tokens, to obtain money or property from those purchasers by
12   means of untrue statements of material facts and omissions to state material facts
13   necessary in order to make the statements they made, in light of the circumstances
14   under which they were made, not misleading, and to engage in transactions,
15   practices, and courses of business which operated and operate as a fraud or deceit
16   upon the purchasers of MEDX tokens.
17         73.       By reason of the foregoing, MedCredits and the Individual Defendants
18   have violated 15 U.S.C. §§ 77q(a).
19         74.       MedCredits’ and the Individual Defendants’ violations of the Securities
20   Act were a substantial factor in causing Plaintiffs damages in connection with their
21   purchases of MEDX token securities. As such, MedCredits and the Individual
22   Defendants are liable to Plaintiffs for compensatory damages or rescission.
23                                     COUNT 4
24
        Violation of the Exchange Act (15 U.S.C. § 78j(b) & 17 CFR § 240.10b-5 )
                  (Against MedCredits and the Individual Defendants)
25

26         75.       Plaintiffs repeat and re-allege each and every allegation above as if set
27   forth herein.
28

                                           - 16 -
                            COMPLAINT AND DEMAND FOR JURY TRIAL
 1          76.      The Exchange Act prohibits the direct or indirect use of any means or
 2   instrumentality of interstate commerce or of the mails (a) To employ any device,
 3   scheme, or artifice to defraud, (b) To make any untrue statement of a material fact or
 4   to omit to state a material fact necessary in order to make the statements made, in
 5   the light of the circumstances under which they were made, not misleading, or (c)
 6   To engage in any act, practice, or course of business which operates or would
 7   operate as a fraud or deceit upon any person, in connection with the purchase or sale
 8   of any security.
 9          77.      MedCredits and the Individual Defendants knowingly and intentionally
10   or recklessly used interstate commerce and/or the mails to employ a device, scheme,
11   or artifice to defraud investors, to obtain money or property from investors by means
12   of untrue statements of material facts and omissions to state material facts necessary
13   in order to make the statements they made, in light of the circumstances under
14   which they were made, not misleading, and to engage in transactions, practices, and
15   courses of business which operated and operate as a fraud or deceit upon the
16   purchasers of MEDX tokens.
17          78.      Plaintiffs reasonably relied to their detriment on the material
18   misrepresentations made by MedCredits and the Individual Defendants and upon the
19   expectation that they would disclose all material facts relating to Plaintiffs’ potential
20   and actual investment in MEDX tokens, including all material facts regarding their
21   ability and plans to release and distribute MEDX tokens to investors.
22          79.      MedCredits’ and the Individual Defendants’ lack of appropriate
23   preparation for, intentional and concealed use of limited resources including time
24   and money to launch Blocktown Capital, and failed, if even attempted, execution of
25   the token sale and launch of a functioning MEDX platform proximately caused
26   Plaintiffs damages, including the complete loss of their principal investments and
27   lost profits.
28

                                           - 17 -
                            COMPLAINT AND DEMAND FOR JURY TRIAL
 1         80.       By reason of the foregoing, MedCredits and the Individual Defendants
 2   have violated 15 U.S.C. §§ 77q(a) and are liable to Plaintiffs for compensatory
 3   damages or rescission.
 4                                          COUNT 5
 5
                         Violation of the Exchange Act (15 U.S.C. § 78t)
                               (Against all Individual Defendants)
 6

 7         81.       Plaintiffs repeat and re-allege each and every allegation above as if set

 8   forth herein.

 9         82.       The Exchange Act provides for joint and several liability

10   for “controlling persons” who had sufficient power or influence over a person or

11   entity that violated federal securities laws:

12                   Every person who, directly or indirectly, controls any

13                   person liable under any provision of this chapter or of

14                   any rule or regulation thereunder shall also be liable

15                   jointly and severally with and to the same extent as such

16                   controlled person to any person to whom such controlled

17                   person is liable (including to the Commission in any

18                   action brought under paragraph (1) or (3) of section

19                   78u(d) of this title), unless the controlling person acted in

20                   good faith and did not directly or indirectly induce the act

21                   or acts constituting the violation or cause of action.

22   15 U.S.C. § 78t.

23         83.       Defendant James Todaro is subject to liability by virtue of his top-level

24   executive position with MedCredits and his significant influence and supervisory

25   authority over it. James Todaro is a “controlling person” within the meaning of

26   Section 15(a) of the Securities Act, 15 U.S.C. § 78t.

27         84.       Defendant Joseph Todaro is subject to liability by virtue of his top-level

28   executive position with MedCredits and his significant influence and supervisory

                                            - 18 -
                             COMPLAINT AND DEMAND FOR JURY TRIAL
 1   authority over it. Joseph Todaro is a “controlling person” within the meaning of
 2   Section 15(a) of the Securities Act, 15 U.S.C. § 78t.
 3         85.       Defendant John Todaro is subject to liability by virtue of his top-level
 4   executive position with MedCredits and his significant influence and supervisory
 5   authority over it. John Todaro is a “controlling person” within the meaning of
 6   Section 15(a) of the Securities Act, 15 U.S.C. § 78t.
 7         86.       Defendant Moshe Praver is subject to liability by virtue of his top-level
 8   executive position with MedCredits and his significant influence and supervisory
 9   authority over it. Praver is a “controlling person” within the meaning of Section
10   15(a) of the Securities Act, 15 U.S.C. § 78t.
11         87.       Defendant Ryan Cody is subject to liability by virtue of his top-level
12   executive position with MedCredits and his significant influence and supervisory
13   authority over it. Cody is a “controlling person” within the meaning of Section
14   15(a) of the Securities Act, 15 U.S.C. § 78t.
15         88.       As “controlling persons,” Defendants proximately caused Plaintiffs
16   damages.
17                                         COUNT 6
18
                             Violation of Cal. Corp. Code § 25110
                      (Against MedCredits and the Individual Defendants)
19

20         89.       Plaintiffs repeat and re-allege each and every allegation above as if set
21   forth herein.
22         90.       It is unlawful for any person to offer or sell in California any security in
23   an issuer transaction that is subject to qualification but has not been qualified and is
24   not exempt.
25         91.       MedCredits and the Individual Defendants “offered” and “sold”
26   securities within the meaning of the Corporate Securities Law of 1968 because they
27   solicited Plaintiffs’ and others’ investments in the MEDX platform and tokens,
28   actively and knowingly participated in the offer and sale of MEDX tokens to

                                            - 19 -
                             COMPLAINT AND DEMAND FOR JURY TRIAL
 1   Plaintiffs and others, and/or offered or sold MEDX tokens they held or controlled to
 2   Plaintiffs.
 3          92.      By reason of the foregoing, MedCredits and the Individual Defendants
 4   have violated Cal. Corp. Code § 25110.
 5          93.      Pursuant to Cal. Corp. Code § 25503, Plaintiffs are entitled to
 6   rescission to recover the consideration paid for the MEDX token securities, plus
 7   interest at the legal rate of 10%.
 8                                         COUNT 7
 9
                             Violation of Cal. Corp. Code § 25130
                      (Against MedCredits and the Individual Defendants)
10

11          94.      Plaintiffs repeat and re-allege each and every allegation above as if set
12   forth herein.
13          95.      It is unlawful for any person to offer or sell in California any security in
14   a nonissuer transaction that is subject to qualification but has not been qualified and
15   is not exempt.
16          96.      MedCredits and the Individual Defendants “offered” and “sold”
17   securities within the meaning of the Corporate Securities Law of 1968 because they
18   solicited Plaintiffs’ and others’ investments in the MEDX platform and tokens,
19   actively and knowingly participated in the offer and sale of MEDX tokens to
20   Plaintiffs and others, and/or offered or sold MEDX tokens they held or controlled to
21   Plaintiffs.
22          97.      By reason of the foregoing, MedCredits and the Individual Defendants
23   have violated Cal. Corp. Code § 25130.
24          98.      Pursuant to Cal. Corp. Code § 25503, Plaintiffs are entitled to
25   rescission to recover the consideration paid for the MEDX token securities, plus
26   interest at the legal rate of 10%.
27

28

                                            - 20 -
                             COMPLAINT AND DEMAND FOR JURY TRIAL
 1                                           COUNT 8
 2
                               Violation of Cal. Corp. Code § 25504
                               (Against the Individual Defendants)
 3

 4         99.       Plaintiffs repeat and re-allege each and every allegation above as if set
 5   forth herein.
 6         100. Every person who directly or indirectly controls a person liable under
 7   Section 25501 or 25503, every partner in a firm so liable, every principal executive
 8   officer or director of a corporation so liable, every person occupying a similar status
 9   or performing similar functions, every employee of a person so liable who
10   materially aids in the act or transaction constituting the violation, and every broker-
11   dealer or agent who materially aids in the act or transaction constituting the
12   violation, are also liable jointly and severally with and to the same extent as such
13   person, unless the other person who is so liable had no knowledge of or reasonable
14   grounds to believe in the existence of the facts by reason of which the liability is
15   alleged to exist.
16         101. Defendant James Todaro is subject to liability by virtue of his top-level
17   executive position with MedCredits and his significant influence and supervisory
18   authority over it. James Todaro is a “controlling person” within the meaning of the
19   California Securities Law.
20         102. Defendant Joseph Todaro is subject to liability by virtue of his top-level
21   executive position with MedCredits and his significant influence and supervisory
22   authority over it. Joseph Todaro is a “controlling person” within the meaning of the
23   California Securities Law.
24         103. Defendant John Todaro is subject to liability by virtue of his top-level
25   executive position with MedCredits and his significant influence and supervisory
26   authority over it. John Todaro is a “controlling person” within the meaning of the
27   California Securities Law.
28

                                           - 21 -
                            COMPLAINT AND DEMAND FOR JURY TRIAL
 1          104. Defendant Moshe Praver is subject to liability by virtue of his top-level
 2   executive position with MedCredits and his significant influence and supervisory
 3   authority over it. Praver is a “controlling person” within the meaning of the
 4   California Securities Law.
 5          105. Defendant Ryan Cody is subject to liability by virtue of his top-level
 6   executive position with MedCredits and his significant influence and supervisory
 7   authority over it. Cody is a “controlling person” within the meaning of the
 8   California Securities Law.
 9          106. As “controlling persons,” the Individual Defendants are jointly and
10   severally liable to Plaintiffs.
11                                        COUNT 9
12
                            Violation of Cal. Corp. Code § 25401
                     (Against MedCredits and the Individual Defendants)
13

14          107. Plaintiffs repeat and re-allege each and every allegation above as if set
15   forth herein.
16          108. It is unlawful for any person to offer or sell a security in this state, or to
17   buy or offer to buy a security in this state, by means of any written or oral
18   communication that includes an untrue statement of a material fact or omits to state
19   a material fact necessary to make the statements made, in the light of the
20   circumstances under which the statements were made, not misleading.
21          109. MedCredits and the Individual Defendants offered and sold securities
22   in California within the meaning of the California Securities Law by means of
23   written and oral communications that included untrue statements of material fact
24   and which omitted to state material facts necessary to make the statements made, in
25   the light of the circumstances under which the statements were made, not
26   misleading.
27          110. By reason of the foregoing, MedCredits and the Individual Defendants
28   have violated Cal. Corp. Code § 25401.

                                          - 22 -
                           COMPLAINT AND DEMAND FOR JURY TRIAL
 1         111. Pursuant to Cal. Corp. Code § 25501, Plaintiffs are entitled to
 2   rescission to recover the consideration paid for the MEDX token securities, plus
 3   interest at the legal rate of 10%.
 4                                    COUNT 10
 5
       Unfair Business Acts or Practices (Cal. Bus. & Prof. Code §§ 17200 et seq.)
                                (Against all Defendants)
 6

 7         112. Plaintiffs repeat and re-allege each and every allegation above as if set
 8   forth herein.
 9         113. The acts and practices of Defendants offend established public policy
10   and/or are immoral, unethical, oppressive, unscrupulous or substantially injurious to
11   consumers. Defendants therefore engaged in unfair business acts and practices
12   within the meaning of Cal. Bus. & Prof. Code §§17200 et seq.
13         114. Defendants’ unfair business acts or practices were a substantial factor
14   in causing Plaintiffs to lose money or property in which they had a vested interest.
15         115. Plaintiffs are entitled to recover restitution and disgorgement of profits
16   and seek injunctive relief to enjoin Defendants’ unfair business acts and practices
17   which are ongoing.
18                                    COUNT 11
19    Unlawful Business Acts or Practices (Cal. Bus. & Prof. Code §§ 17200 et seq.)
                               (Against all Defendants)
20

21         116. Plaintiffs repeat and re-allege each and every allegation above as if set
22   forth herein.
23         117. By violating various statutes, rules, and regulations, including without
24   limitation those referenced above and 15 U.S.C. § 77e(a), 15 U.S.C. § 77e(c),
25   Defendants engaged in unlawful business practices within the meaning of Cal. Bus.
26   & Prof. Code §§17200 et seq.
27

28

                                         - 23 -
                          COMPLAINT AND DEMAND FOR JURY TRIAL
 1          118. Defendants’ unlawful business acts or practices were a substantial
 2   factor in causing Plaintiffs to lose money or property in which they had a vested
 3   interest.
 4          119. Plaintiffs are entitled to recover restitution and disgorgement of profits
 5   and seek injunctive relief to enjoin Defendants’ unlawful business acts and practices
 6   which are ongoing.
 7                                   COUNT 12
 8
     Fraudulent Business Acts or Practices (Cal. Bus. & Prof. Code §§ 17200 et seq.)
                               (Against all Defendants)
 9

10          120. Plaintiffs repeat and re-allege each and every allegation above as if set
11   forth herein.
12          121. Defendants’ business acts or practices were likely to deceive consumers
13   and therefore Defendants engaged in fraudulent business practices within the
14   meaning of Cal. Bus. & Prof. Code §§17200 et seq.
15          122. Defendants’ fraudulent business acts or practices were a substantial
16   factor in causing Plaintiffs to lose money or property in which they had a vested
17   interest.
18          123. Plaintiffs are entitled to recover restitution and disgorgement of profits
19   and seek injunctive relief to enjoin Defendants’ unlawful business acts and practices
20   which are ongoing.
21                                       COUNT 13
22                                   Breach of Contract
                                    (Against MedCredits)
23

24          124. Plaintiffs repeat and re-allege each and every allegation above as if set
25   forth herein.
26          125. Pursuant to MedCredits’ offer to sell MEDX tokens, Plaintiffs and
27   MedCredits entered into agreements whereby Plaintiffs purchased MEDX tokens
28

                                         - 24 -
                          COMPLAINT AND DEMAND FOR JURY TRIAL
 1   from Defendants. Mr. Enneking also entered into an agreement to provide advisory
 2   services for MedCredits.
 3         126. Plaintiffs did all, or substantially all, of the significant things that the
 4   agreements required or were excused from having to do so.
 5         127. MedCredits breached its obligations under the agreements.
 6         128. MedCredits’ breaches of contract were a substantial factor in causing
 7   Plaintiffs damages.
 8                                        COUNT 14
 9
                     Breach of the Covenant of Good Faith and Fair Dealing
                                     (Against MedCredits)
10

11         129. Plaintiffs repeat and re-allege each and every allegation above as if set
12   forth herein.
13         130. Under California law, every contract has an implied covenant of good
14   faith and fair dealing which requires that the parties refrain from doing anything to
15   unfairly interfere with the right of the other party to receive the benefits of the
16   contract.
17         131. MedCredits breached the covenant of good faith and fair dealing when
18   it failed to build and launch the MEDX platform, failed to release and distribute
19   MEDX tokens to investors including Plaintiffs, and failed to compensate Mr.
20   Enneking for his advisory services.
21         132. MedCredits’ breaches of the covenant of good faith and fair dealing
22   were a substantial factor in causing Plaintiffs damages.
23                                        COUNT 15
24                                    Unjust Enrichment
                                    (Against all Defendants)
25

26         133. Plaintiffs repeat and re-allege each and every allegation above as if set
27   forth herein.
28

                                          - 25 -
                           COMPLAINT AND DEMAND FOR JURY TRIAL
 1         134. As a result of their failure to build and launch the MEDX platform and
 2   failure to release and distribute MEDX tokens to investors including Plaintiffs,
 3   Defendants have been unjustly enriched at the expense of Plaintiffs.
 4         135. Plaintiffs are entitled to recover monies from Defendants to remedy
 5   such unjust enrichment, including the return of all purchase proceeds,
 6   reimbursement for services rendered, and pre-judgment interest at the statutory legal
 7   rate of 10%.
 8                                      COUNT 16
 9
                                        Conversion
                                  (Against all Defendants)
10

11         136. Plaintiffs repeat and re-allege each and every allegation above as if set
12   forth herein.
13         137. Plaintiffs had a right to have MedCredits and the Individual Defendants
14   devote the proceeds of their investments to development of the MEDX platform and
15   to the successful completion of a token sale and distribution of MEDX tokens.
16         138. Defendants intentionally and substantially interfered with Plaintiffs’
17   right by failing to develop the MEDX platform and by preventing Plaintiffs from
18   having access to MEDX tokens of any value or at all. In particular, among other
19   interference by Defendants, the Todaro Brothers misappropriated, commingled,
20   and/or misapplied funds belonging to MedCredits for personal gain and/or for the
21   benefit of Blocktown Capital.
22         139. Defendants did so without Plaintiffs’ consent.
23         140. Defendants’ conduct was a substantial factor in causing Plaintiffs harm.
24   In addition to seeking compensatory damages, because of the malicious, oppressive,
25   and fraudulent nature of the conduct of Defendants, Plaintiffs also seek punitive
26   damages in an amount sufficient to punish and deter them.
27

28

                                        - 26 -
                         COMPLAINT AND DEMAND FOR JURY TRIAL
 1                                      COUNT 17
 2
                                   Promissory Estoppel
                     (Against MedCredits and the Individual Defendants)
 3

 4         141. Plaintiffs repeat and re-allege each and every allegation above as if set
 5   forth herein.
 6         142. Defendants made a promise to build and launch the MEDX platform
 7   and to release and distribute MEDX tokens to investors including Plaintiffs.
 8         143. Defendants, however, did not intend to perform this promise when they
 9   made it.
10         144. Defendants intended that Plaintiffs rely on their promise.
11         145. Plaintiffs reasonably relied on Defendants’ promise.
12         146. Defendants did not build and launch the MEDX platform or release and
13   distribute MEDX tokens to investors including Plaintiffs.
14         147. Plaintiffs’ reliance on Defendants’ promise was a substantial factor in
15   causing Plaintiffs harm.
16                                      COUNT 18
17                                        Fraud
                     (Against MedCredits and the Individual Defendants)
18

19         148. Plaintiffs repeat and re-allege each and every allegation above as if set
20   forth herein.
21         149. MedCredits and the Individual Defendants had a duty to accurately and
22   completely disclose material information to Plaintiffs regarding the potential
23   investments in MEDX tokens.
24         150. MedCredits and the Individual Defendants induced Plaintiffs to
25   purchase MEDX tokens by making material, false representations and/or omissions
26   that they knew to be false and/or materially incomplete or which were made
27   recklessly without regard for their truth.
28

                                         - 27 -
                          COMPLAINT AND DEMAND FOR JURY TRIAL
 1         151. MedCredits and the Individual Defendants intended that Plaintiffs rely
 2   on their misrepresentations.
 3         152. Plaintiffs reasonably relied to their detriment on the material
 4   misrepresentations made by MedCredits and the Individual Defendants and upon the
 5   expectation that MedCredits and the Individual Defendants would disclose all
 6   material facts.
 7         153. Plaintiffs’ reliance was a substantial factor in causing Plaintiffs
 8   damages. In addition to seeking compensatory damages, because of the malicious,
 9   oppressive, and fraudulent nature of the conduct of MedCredits and the Individual
10   Defendants, Plaintiffs also seek punitive damages in an amount sufficient to punish
11   and deter them.
12                                        COUNT 19
13
                                  Negligent Misrepresentation
                       (Against MedCredits and the Individual Defendants)
14

15         154. Plaintiffs repeat and re-allege each and every allegation above as if set
16   forth herein.
17         155. MedCredits and the Individual Defendants induced Plaintiffs to
18   purchase MEDX tokens by making material misrepresentations and/or omissions for
19   which they had no reasonable grounds to believe to be true and complete.
20         156. MedCredits and the Individual Defendants intended that Plaintiffs rely
21   on their misrepresentations.
22         157. Plaintiffs reasonably relied to their detriment on the material
23   misrepresentations made by MedCredits and the Individual Defendants and upon the
24   expectation that they would disclose all material facts.
25         158. Plaintiffs’ reliance was a substantial factor in causing Plaintiffs
26   damages.
27

28

                                           - 28 -
                            COMPLAINT AND DEMAND FOR JURY TRIAL
 1                                         COUNT 20
 2
                      Intentional Interference With Contractual Relations
                     (Against Blocktown Capital and the Todaro Brothers)
 3

 4         159. Plaintiffs repeat and re-allege each and every allegation above as if set
 5   forth herein.
 6         160. Blocktown Capital and the Todaro Brothers knew of the agreements
 7   between Plaintiffs and MedCredits.
 8         161. The conduct of Blocktown Capital and the Todaro Brothers prevented
 9   performance of those agreements or made performance of those agreements more
10   expensive or difficult.
11         162. Blocktown Capital and the Todaro Brothers intended to disrupt the
12   performance of those agreements or knew that the disruption of performance was
13   certain or substantially certain to occur.
14         163. The conduct of Blocktown Capital and the Todaro Brothers was a
15   substantial factor in causing Plaintiffs harm.
16                                  PRAYER FOR RELIEF
17         WHEREFORE, Plaintiffs respectfully request that the Court enter
18   judgment and relief as follows:
19         A. Declaring the sale of MEDX tokens a security under the federal and state
20             securities laws;
21         B. Declaring that Defendants offered and sold unregistered securities in
22             violation of federal and state securities laws;
23         C. Declaring that Defendants are liable to Plaintiffs under
24              the Securities Act, the Exchange Act, the California Securities Law, and
25              California’s Unfair Competition Law;
26         D. Awarding Plaintiffs rescission;
27         E. Awarding compensatory damages, including lost profits;
28

                                          - 29 -
                           COMPLAINT AND DEMAND FOR JURY TRIAL
 1        F. Ordering Defendants to provide restitution and to disgorge profits to
 2           Plaintiffs;
 3        G. Awarding Plaintiffs punitive damages in an amount sufficient to punish
 4           and deter Defendants;
 5        H. Awarding Plaintiffs pre- and post-judgment interest at the statutory legal
 6           rate of 10% pursuant to Section 3289(b) of the California Civil Code;
 7        I. Awarding Plaintiffs attorneys’ fees pursuant to Section 1021.5 of the
 8           California Civil Code;
 9        J. Awarding Plaintiffs the costs of this action;
10        K. Enjoining Defendants and each of them from continuing to offer and sell
11           unregistered, non-exempt securities;
12        L. Ordering such other and further relief as may be just and proper.
13

14   DATED: September 27, 2019             Respectfully Submitted,
15
                                           By: s/ Jeffrey N. Goldberg
16                                         Email: jeff@jeffreyngoldberglaw.com
17
                                           JEFFREY N. GOLDBERG
18
                                           THE LAW OFFICES OF JEFFREY N.
19                                         GOLDBERG, P.C.
20
                                           Attorney for Plaintiffs
21                                         Crypto Asset Fund, LLC, Timothy
                                           Enneking, and Kyle Chaykowski
22

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                                          - 30 -
                           COMPLAINT AND DEMAND FOR JURY TRIAL
 1                              DEMAND FOR JURY TRIAL
 2         Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by
 3   jury of all claims in this Complaint so triable.
 4

 5   DATED: September 27, 2019               Respectfully Submitted,
 6
                                             By: s/ Jeffrey N. Goldberg
 7                                           Email: jeff@jeffreyngoldberglaw.com
 8
                                             JEFFREY N. GOLDBERG
 9
                                             THE LAW OFFICES OF JEFFREY N.
10                                           GOLDBERG, P.C.
11
                                             Attorney for Plaintiffs
12                                           Crypto Asset Fund, LLC, Timothy
                                             Enneking, and Kyle Chaykowski
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                                         - 31 -
                          COMPLAINT AND DEMAND FOR JURY TRIAL
